                                              United States Bankruptcy Court
                                             Eastern District of Washington
In re:                                                                                                     Case No. 16-02182-FPC
Manuel Saile Ybanez, II                                                                                    Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0980-2                  User: notice                       Page 1 of 1                          Date Rcvd: Nov 20, 2019
                                      Form ID: ntcdsm                    Total Noticed: 13


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 22, 2019.
db             +Manuel Saile Ybanez, II,    500 S 11th St,   Sunnyside, WA 98944-2240
cr             +U.S. Bank National Association,    14841 Dallas Parkway, Suite 300,   Dallas, TX 75254-7883
cr             +U.S. Bank National Association, as Trustee, for Re,    c/o McCarthy & Holthus, LLP,
                 108 1st Avenue South, Ste. 300,    Seattle, WA 98104-2104
3818705         California Franchise Tax Board,    Bankruptcy, PIT MS A340,   Franchise Tax Board PO Box 2952,
                 Sacramento, CA 95812-2952
3818707        +Los Angeles County Tax Collector,    c/o Mark J Saladino, Treas/Tax Coll,
                 225 North Hill Street,    Los Angeles, CA 90012-3232
3848159         Wells Fargo Bank, N. A.,    C/O Americas Servicing CO.,as servicer,
                 Attn: Default Document Processing,    MAC #N9286-01Y 1000 Blue Gentian Road,,
                 Eagan, MN 55121-7700

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: WADEPREV.COM Nov 21 2019 08:38:00       State of Washington,   Department of Revenue,
                 2101 4th Ave, Ste 1400,   Seattle, WA 98121-2300
3818704        +EDI: WFFC.COM Nov 21 2019 08:38:00      America’s Servicing Company.,
                 c/o Wells Fargo, John G. Stumpf,Pre,    420 Montgomery Street,    San Francisco, CA 94163-0001
3854916         EDI: DIRECTV.COM Nov 21 2019 08:38:00       Directv, LLC,   by American InfoSource LP as agent,
                 PO Box 5008,   Carol Stream, IL 60197-5008
3818706         EDI: IRS.COM Nov 21 2019 08:38:00      IRS,    Centralized Insolvency Oper.,    PO Box 7346,
                 Philadelphia, PA 19101-7346
3856545         EDI: USBANKARS.COM Nov 21 2019 08:38:00       U.S. Bank National Association,
                 c/o U.S. Bank Home Mortgage,    a division of U.S. Bank National Assoc.,
                 4801 Frederica Street,   Owensboro, Kentucky 42301
3854936         EDI: USBANKARS.COM Nov 21 2019 08:38:00       U.S. Bank National Association,
                 c/o U.S. Bank Home Mortgage (See 410),     4801 Frederica Street,    Owensboro,KY 42301
3818708        +EDI: USBANKARS.COM Nov 21 2019 08:38:00       US Bank Home Mortgage.,
                 c/o Richard K. Davis, Pres/CEO,    800 Nicollett Mall,    Minneapolis, MN 55402-2511
                                                                                               TOTAL: 7

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +U.S. BANK NATIONAL ASSOCIATION,   14841 Dallas Parkway, Suite 300,                       Dallas, TX 75254-7883
                                                                                                                  TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 22, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 20, 2019 at the address(es) listed below:
              Daniel Brunner     noreply@spokane13.org
              James K Miersma    on behalf of Creditor   U.S. Bank National Association
               bknotice@mccarthyholthus.com, jbarrett@mccarthyholthus.com;jmiersma@ecf.courtdrive.com
              Kevin D Swartz    on behalf of Debtor Manuel Saile Ybanez, II kswartz@olsendaines.com,
               notice@olsendaines.com;noticekds@olsendaines.com;dainesrr46944@notify.bestcase.com;ignintake@olse
               ndaines.com
              Lance E Olsen    on behalf of Creditor   U.S. Bank National Association, as Trustee, for
               Residential Asset Securities Corporation, Home Equity Mortgage Asset-Backed Pass-Through
               Certificates, Series 2006-EMX4 bknotice@mccarthyholthus.com, lolsen@ecf.courtdrive.com
              US Trustee    USTP.REGION18.SP.ECF@usdoj.gov
                                                                                             TOTAL: 5




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                                                                                        Form: ntcdsm
                                                                                      Rev: 01/06/2012




                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF WASHINGTON

In re:                                            Case Number: 16−02182−FPC13

Manuel Saile Ybanez II                            Chapter: 13
(Debtor)
                                                  NOTICE OF DISMISSAL




NOTICE IS HEREBY GIVEN that an order dismissing the above−entitled case was entered on November
20, 2019.



Date: November 20, 2019                                    CLERK OF COURT

                                                            /s/ Janell Grubb

                                                           Deputy Clerk




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